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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
Days,

                                   Plaintiff,                          ORDER

                 -against-                                             18 Civ. 11538 (NSR)(AEK)

Eastchester Police Department, et al.,

                                    Defendants.
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THE HONORABLE ANDREW E. KRAUSE, U.S.M.J.

         At a status conference on January 8, 2021, the Court explained that non-party witness

Cherlyn Mayhew has consented to the limited sharing of a letter, dated October 29, 2020, that

had been provided to the Court by healthcare providers at Westchester Medical Center regarding

Ms. Mayhew’s medical condition. As the Court has disclosed previously, this letter was a

substantial factor in the Court’s determination that Ms. Mayhew could not attend or testify at a

deposition in this matter due to illness and infirmity. See ECF No. 140. Following that ruling,

Plaintiff’s counsel requested that the Court provide a copy of this letter for review.

         A copy of this letter will be provided to by the Court, via electronic mail, to counsel for

the parties. As stated on the record at the January 8, 2021 conference, this letter containing Ms.

Mayhew’s medical information is being released on a strict, attorneys’ eyes only basis, and

absolutely may not be disclosed to any of the individual parties or anyone else.

Dated: January 12, 2021
       White Plains, New York
                                                                 SO ORDERED.


                                                                 ___________________________________
                                                                 ANDREW E. KRAUSE
                                                                 United States Magistrate Judge
